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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                        )
                                                 )
        Plaintiff,                               )
                                                 )
                            v.                   ) Civil Action No. 1:04-cv-00798-PLF
                                                 )
                                                 )
ALL ASSETS HELD AT BANK JULIUS                   )
BAER & COMPANY, LTD., GUERNSEY                   )
BRANCH, ACCOUNT NUMBER 121128,                   )
IN THE NAME OF PAVLO                             )
LAZARENKO, LAST VALUED AT                        )
APPROXIMATELY $2 MILLION IN                      )
UNITED STATES DOLLARS, ET AL.,                   )
                                                 )
        Defendants.                              )


             REPLY MEMORANDUM IN SUPPORT OF MOTION TO QUASH

        Claimants Lessia Shatalin, Katerina Duncan, and Alexander Lazarenko respectfully submit

this reply to the Government’s Opposition to their Supplemental Memorandum in Support of

Motion to Quash, specifically regarding whether their motion to quash the subpoena to Goldberg,

Gluck & Brusilovsky is timely.

        It appears from the Government’s Opposition that their current position is that Claimants’

Motion to Quash the Goldberg, Gluck, & Brusilovsky subpoena, filed on April 4, 2019, in the

Northern District of California was timely filed, and that the Northern District of California

erroneously declined to adjudicate the merits of that Motion, incorrectly finding that Washington,

D.C. was the proper location for adjudication of the Motion. The Government therefor concludes,

notwithstanding the fact that the Northern District of California dismissed the Motion on

procedural grounds without prejudice to movants’ refiling in Washington, D.C., that claimants

were completely without recourse to re-file in Washington, D.C., despite the erroneous ruling of
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the Northern California District Court. This position is preposterous. Rule 45 does not specifically

define “timely” with respect to the requirement for filing motions to quash. The Court therefore

has discretion to determine the timeliness of the motion, given all of the attendant circumstances,

including the Government’s drafting errors, the fact that a motion to quash setting forth the same

arguments was incontrovertibly filed within the production period in the Northern District of

California, and the fact that the Government has not and will not suffer any prejudice from this

Court ruling on the merits of Claimants’ motion. U.S. ex rel Pogue v. Diabetes Treatment Centers

of America, Inc., 238 F.Supp.2d 270, 278, 278 n.6 (D.D.C. 2002).

        The weaknesses of the Government’s position are further demonstrated by the lengths it

employs to cast unsupported aspersions on claimants’ counsel’s motives in filing a Motion to

Quash first in the Northern District of California and then, on April 19, 2019, in Washington, D.C.

While claiming that counsel’s actions were based on gamesmanship rather than confusion, see

Opposition at 4, just two pages later the Government proceeds to quote counsel from the hearing

held in this Court on April 9, 2019 saying, “We filed it there. We could refile it here…I think it

was just simply there was a significant amount of confusion…” Opposition at 6. It is rather the

Government that is engaged in brinksmanship when it argues that because the Northern District of

California erroneously decided it did not have proper jurisdiction over the Motion to Quash,

claimants have no recourse to object to their personal financial information, for years well beyond

this Court’s order regarding the permissible scope of discovery in this litigation, being disclosed

to the United States Government. It is the Government that has blatantly disregarded this Court’s

order regarding the permissible scope of discovery and it is the Government that seeks to prevent

this Court from adjudicating the merits of the Motion based on convoluted, legalistic arguments

regarding the “timeliness” of the motion, and second-guessing whether claimants should have


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further wasted the time of the federal courts of California by appealing the Northern District’s

decision to demand a transfer of the motion, see Opposition at 5, rather than simply filing in this

Court because the California District Court dismissed the motion without prejudice to allow them

to refile in this Court. See Order of the Northern District of California at 4.

        WHEREFORE, Shatalin, Duncan and Lazarenko again respectfully request that the Court

enter an order to quash the subpoenas to Eagle Bank, First Republic Bank, and Goldberg Gluck.

        Dated: July 15, 2019

                                               Respectfully submitted,

                                               By: __/s/_____________
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                                               Attorney for Claimants ALEX LAZARENKO,
                                               KATERINA LAZARENKO and LESSIA
                                               LAZARENKO




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 15, 2019, I electronically filed the foregoing document with

the clerk of the court for the U.S. District Court for the District of Columbia, using the electronic

case filing system of the court under seal. The electronic case filing system sent a “Notice of

Electronic Filing” to the attorneys of record who have consented in writing to accept this Notice

as service of this document by electronic means. I also certify that parties not so noticed have

been served in accordance with Fed. R. Civ. P. 5(d).


                                              By:      _/s/Emily Beckman____________
                                                       Emily Beckman




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